Case 1:02-cr-05446-LJO Document 234 Filed 04/18/05 Page 1 of 7
Case 1:02-cr-05446-LJO Document 234 Filed 04/18/05 Page 2 of 7
Case 1:02-cr-05446-LJO Document 234 Filed 04/18/05 Page 3 of 7
Case 1:02-cr-05446-LJO Document 234 Filed 04/18/05 Page 4 of 7
Case 1:02-cr-05446-LJO Document 234 Filed 04/18/05 Page 5 of 7
Case 1:02-cr-05446-LJO Document 234 Filed 04/18/05 Page 6 of 7
Case 1:02-cr-05446-LJO Document 234 Filed 04/18/05 Page 7 of 7
